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                    1 Nicholas O. Kennedy (State Bar No. 280504)
                      nicholas.kennedy@bakermckenzie.com
                    2 BAKER & McKENZIE LLP
                      1900 North Pearl Street, Suite 1500
                    3 Dallas, TX 75201
                      Telephone: 214.978.3000
                    4 Facsimile: 214.978.3099
                    5 Thomas Tysowsky (State Bar No. 330022)
                      thomas.tysowsky@bakermckenzie.com
                    6 BAKER & McKENZIE LLP
                      1901 Avenue of the Stars, Suite 950
                    7 Los Angeles, CA 90067
                      Telephone: 310.201.4728
                    8 Facsimile: 310.201.4721
                   9 Michael Jason Lee (State Bar No. 206110)
                     LAW OFFICES OF MICHAEL JASON LEE, APLC
                  10 4660 La Jolla Village Drive, Suite 100
                     San Diego, California 92122
                  11 Telephone: 858.550.9984
                     E-Mail: michael@mjllaw.com
                  12
                     Sunjina K. Ahuja (State Bar No 226130)
                  13 DILLON MILLER AHUJA & BOSS, LLP
                     5872 Owens Ave., Ste. 200
                  14 Carlsbad, California 92008
                     Telephone: (858) 587-1800
                  15 E-Mail: sahuja@dmablaw.com
                  16 Attorneys for Plaintiff
                     MING GLOBAL LIMITED
                  17
                                            UNITED STATES DISTRICT COURT
                  18                      CENTRAL DISTRICT OF CALIFORNIA
                  19
                     MING GLOBAL LIMITED,                  Case No. 8:20-cv-01852-JVS-KES
                  20 a Hong Kong company,
                  21              Plaintiff,                   SECOND AMENDED COMPLAINT
                             v.
                  22
                     MONARCH HOLDINGS INC., a                  JURY TRIAL DEMANDED
                  23 Nevada corporation, d/b/a
                     MONARCH INTERNATIONAL INC.;
                  24 VERONICA SO a/k/a MARIA
                     VERONICA SO a/k/a MARIA SO,
                  25 an individual;; DEREK NGUYEN, an          District Judge   James V. Selna
                     individual; JAVEED MATIN; ,               Magistrate Judge Karen E. Scott
                  26 and Does 1 through 10 inclusive,
                                                               Complaint Filed: September 24, 2020
                  27              Defendants.
                  28
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1901 Avenue of the Stars,
        Suite 950
 Los Angeles, CA 90067
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                   1        Plaintiff Ming Global Limited (“Plaintiff” or “Ming Global”) by and through its
                   2 undersigned counsel, complain and allege against Defendant Monarch Holdings Inc.,
                   3 dba Monarch International Inc., Defendant Veronica So, , Defendant Derek Nguyen and
                   4 Defendant, Javeed Matin (collectively referred to herein as herein “Monarch”), as
                   5 follows:
                   6                             NATURE OF THE ACTION
                   7        1.    Ming Global was the victim of an elaborate fraud based on non-existent
                   8 investments. Through a series of misrepresentations, broken promises, and breached
                   9 agreements, Monarch bilked Ming Global out of more than $13 million and, assuming
                10 Monarch actually invested the money as it said it did, out of another $13 million in
                11 purported returns. All of this money was transferred by Ming Global to Monarch’s bank
                12 account right here in California.
                13          2.    This fraud began in May of this year, when Monarch’s agents contacted
                14 Ming Global’s Sarath Kumar Hegde.          Monarch’s agents identified themselves as
                15 representatives of a prominent Hong Kong private equity firm, First Eastern Investments
                16 Limited (“First Eastern Investments”) and claimed they had promising investment
                17 opportunities for Ming Global. Ming Global did its due diligence by researching First
                18 Eastern Investments and consulting with its accountant. Ming Global then started with
                19 a modest investment of roughly $20,000. Monarch’s agents directed Ming Global to
                20 transfer the funds for this investment and all subsequent investments to Monarch, the
                21 purported broker for U.S. trades in California.
                22          3.    The stocks purportedly purchased by Monarch with this initial investment
                23 performed well. The trap was now set. Monarch’s agents ratcheted up the pressure,
                24 convincing Ming Global to make larger and larger investments. All told, Ming Global
                25 invested $13,329,181.76 at the behest of Monarch and its agents.             All of these
                26 investments were made based on the repeated false promise that Ming Global could
                27 receive its money back on demand.
                28
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                 1        4.     But when Ming Global asked for its money back, the excuses began. Each
                 2 request was met with a new excuse. At first, the excuses seemed genuine. But as the
                 3 delay continued, each excuse grew more convoluted than the last.             Ming Global
                 4 requested its money back dozens of times between July and September. Monarch and
                 5 its representatives responded to each request with a new problem or condition, and a new
                 6 date on which Monarch promised to return the money.
                 7        5.     The money still has not been returned. Suspicious and concerned, Ming
                 8 Global engaged a global fraud investigative firm. The results confirmed what Ming
                 9 Global feared.      Monarch and its agents have no relationship with First Eastern
               10 Investments or its CEO Victor Chu, whose name was fraudulently signed on one of the
               11 letters at the core of the scheme. Monarch, the purported “brokerage firm” is nothing of
               12 the sort. It is a California corporation with no apparent operations and its “headquarters”
               13 in a storage unit.
               14         6.     Unfortunately, it is clear that Monarch and its agents have made false and
               15 misleading statements to Ming Global, breached contracts and reneged on promises, and
               16 unjustly enriched Monarch to the tune of at least $13 million of Ming Global’s money.
               17 Accordingly, Monarch must be held accountable and its ill-gotten gains disgorged. Ming
               18 Global respectfully seeks this Court’s assistance to do so.
               19                                      THE PARTIES
               20         7.     Plaintiff Ming Global Limited is a company organized under the laws of
               21 Hong Kong, with its principal place of business at 1206 Eastern Commercial Centre, 397
               22 Hennessy Road, Wan Chai, Hong Kong.
               23         8.     Monarch Holdings Inc. is a Nevada corporation, doing business as Monarch
               24 International Inc., with its principal place of business at 1625 N. El Camino Real, Unit B,
               25 San Clemente, CA 92672. It can be served with process through its registered agent,
               26 Veronica So at the same address.
               27         9.     Veronica So a/k/a Maria Veronica So a/k/a Maria So (“Veronica So” or
               28 “Ms. So”) is an individual, and the sole corporate director of Monarch Holdings Inc.,
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                 1 who at all relevant times resided in Orange County, California. Veronica So actively set
                 2 up the bank accounts through which the fraudulently stolen funds were received by
                 3 Monarch. Veronica So also was a signatory on the bank accounts.
                 4         10.   Defendant, Derek Nguyen (“Nguyen”) is an individual who, Plaintiff is
                 5 informed and believes, is residing in Orange County, California. Nguyen is an individual
                 6 that controlled and seized a substantial portion of the funds that were taken from Ming
                 7 Global and utilized those funds to pay himself, pay his debts, pay his controlled entities
                 8 and/or other individuals or relatives.
                 9         11.   Defendant, Javeed Matin (“Matin”) is an individual who resided in Orange
               10 County, California during the time period that much of the events described in this
               11 Second Amended Complaint occurred. Matin was a signatory on the Monarch Holdings,
               12 Inc. bank accounts to which Ming Global sent its monies. Matin directly withdrew, drew
               13 upon and/or transferred millions of dollars of funds from the bank accounts. Notably,
               14 Matin did not direct for any of the funds deposited by Ming Global to be invested as
               15 promised. Instead, Matin simply stole and dissipated the funds.
               16          12.   Monarch operated at all relevant times through individual agents believed
               17 to have been based in Hong Kong, California, and New York operating through names
               18 including Alexander Mann, Scott Bailey, Peter Lynd, Graham Cowell, Simon Newton,
               19 and Angela Fung. Plaintiff suspects these names are not the actual names of these
               20 persons.       These agents represented themselves as employees or authorized
               21 representatives of the private equity firm, First Eastern Investments Limited. But they
               22 were not. They were truly acting on behalf of the fraudulent scheme of which Monarch
               23 was the centerpiece.
               24          13.    Plaintiff is informed and believes and thereon alleges that all Defendants
               25 (collectively referred to as “Monarch”) alleged herein were acting in concert with one
               26 another to organize, plan and commit the large-scale fraud orchestrated against Plaintiff.
               27 All Defendants, and each of them, were aware of the scheme designed to defraud
               28 Plaintiff of its monies, were aware of the fraudulent representations made to Defendants
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                 1 regarding the investments and the use of his funds, were aware that the monies were not
                 2 used as represented and were aware the funds were zeroed out of the bank accounts in
                 3 which they were deposited in weeks.
                 4                              JURISDICTION AND VENUE
                 5          14.   This Court has jurisdiction over this action under 28 U.S.C. § 1332(a)(2)
                 6 because there is complete diversity of citizenship between Ming Global and Monarch
                 7 and the amount in controversy exceeds $75,000 exclusive of interest and costs.
                 8 Specifically, Monarch is a citizen of California and Ming Global is a citizen of a foreign
                 9 state.
               10           15.   In addition, this Court has subject matter jurisdiction under 28 U.S.C.
               11 § 1331 because certain of the claims asserted herein, including the claim for securities
               12 fraud, arise under federal law. Moreover, the state law claims asserted herein are based
               13 on a common nucleus of operative facts with these federal law claims such that they are
               14 so closely related as to form part of the same case or controversy. See 28 U.S.C. § 1367.
               15           16.   This Court has general personal jurisdiction over Monarch because
               16 Monarch Holdings Inc. is a corporation with its principal place of business in the state
               17 of California. It also has specific personal jurisdiction because the money that was stolen
               18 from Ming Global by Monarch was transferred into the state of California and the
               19 scheme at issue was carried out, at least in part, by agents believed to be in California.
               20           17.   Venue is appropriate in the Central District of California because Monarch
               21 Holdings Inc. maintains its principal place of business in this District, the money stolen
               22 from Ming Global was transferred into this District, the scheme was directed and
               23 developed, at least in part, from this District, and certain of the false representations and
               24 statements are believed to have been made in or directed from this District. See 28
               25 U.S.C. § 1391(b)(1)-(2).
               26
               27
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                 1                             GENERAL ALLEGATIONS
                 2        18.   In early May 2020, Monarch’s agents cold-called Ming Global’s Director,
                 3 Sharath Kumar Hegde, to pitch potential investments. They told Mr. Hegde that they
                 4 represented First Eastern Investments, a well-known Hong Kong investment firm. Mr.
                 5 Hegde initially declined to speak with Monarch. When Monarch called Mr. Hegde a
                 6 second time, however, Mr. Hegde agreed to set up a call with one of Monarch’s
                 7 representatives.
                 8        19.   Shortly thereafter, Mr. Hegde received a call from an individual who
                 9 referred to himself as “Alexander Mann.” It is believed that Alexander Mann is not the
               10 true name of the individual with whom Mr. Hegde spoke. He is not employed with First
               11 Eastern Investments, but instead is an agent of Monarch who used the false affiliation
               12 with First Eastern Investments to gain Mr. Hegde’s trust. The actual identity of
               13 Alexander Mann is unknown at this time.
               14         20.    After telling Mr. Hegde he was with First Eastern Investments, Mr. Mann
               15 told Mr. Hegde to “look them up.” Mr. Mann stated that First Eastern Investments was
               16 a private equity firm and that it offered investment opportunities with companies that
               17 would perform well. Mr. Mann explained to Mr. Hegde that First Eastern Investments
               18 received a 4% commission per transaction in exchange for its investment advisory
               19 services. When Mr. Hegde inquired about Ming Global’s ability to withdraw invested
               20 monies from First Eastern Investments, Mr. Mann stated that funds could and would be
               21 remitted to Ming Global upon request.
               22         21.   Mr. Mann identified a few investment opportunities and asked Mr. Hegde
               23 if Ming Global would invest $20,000. Specifically, he asked Ming Global to invest in
               24 the stock of two entities – BioNTech, SE (BNTX) and Novavax, Inc (NVAX).
               25         22.   Mr. Hegde, who is based out of Australia, asked Ming Global’s accountant
               26 at Asia Business Centre in Hong Kong for assistance. The accountant confirmed that
               27 First Eastern Investments is a legitimate company and leading private equity firm in
               28
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                 1 Hong Kong. Mr. Hegde’s internet research on First Eastern Investments and its CEO
                 2 Victor Chu, who was also referenced by Monarch, confirmed the same.
                 3        23.    Based on the representations made by Mr. Mann, Ming Global agreed to
                 4 invest the $20,000 with what it believed was First Eastern Investments for the purposes
                 5 of acquiring equity shares in BNTX and NVAX. Mr. Mann instructed that the payment
                 6 be made to Monarch Holdings, Inc., which it described as the brokerage firm who would
                 7 hold the funds and purchase the shares for Ming Global’s investments. Mr. Mann then
                 8 provided wire instructions to two separate bank accounts in Monarch’s name, one at
                 9 Bank of America and one at U.S. Bank.
               10         24.    Specifically, Mr. Mann made representations as to the following material
               11 terms of the transaction: (1) First Eastern Investments would invest Ming Global’s
               12 money in exchange for a 4% commission fee per transaction; (2) invested money would
               13 be returnable upon request by Ming Global; (3) the initial $20,000 was to be invested in
               14 purchasing the stocks BNTX and NVAX; and (4) Monarch was acting at the direction
               15 of and in concert with First Eastern Investments. Based on these representations, Ming
               16 Global sent $20,000 to Monarch on June 3, 2020.
               17         25.    Monarch then provided Ming Global with online account access through
               18 which Ming Global could see its stock holdings (“Online Account”). This Online
               19 Account statement included the “First Eastern Investments Limited” logo. The Online
               20 Account statement also reflected Ming Global’s name, Mr. Hegde’s name, the amount
               21 of shares purchased, and current market price of the shares Monarch claimed to have
               22 purchased on Ming Global’s behalf. Attached hereto as Exhibit 1 is a true and correct
               23 copy of a screenshot of the Online Account. Attached hereto as Exhibit 2 is a true and
               24 correct copy of a second screenshot of the Online Account.
               25         26.    A few days after Ming Global’s initial investment with Monarch, Mr. Mann
               26 contacted Mr. Hegde to tell him that Ming Global’s shares were performing very well.
               27 He used this “good news” to set up an introduction between Mr. Hegde and “Scott
               28 Bailey”, another purported representative of First Eastern Investments. Scott Bailey is
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                 1 not associated with First Eastern Investments, but rather is associated with Monarch.
                 2 Scott Bailey appears to be another fake name.
                 3        27.   In mid-June 2020, Mr. Hegde spoke with Mr. Bailey. During that call, Mr.
                 4 Bailey represented that he had another investment opportunity for Ming Global. He
                 5 asked for a $200,000 investment, this time to purchase shares in Anheuser Busch InBev
                 6 SA/NV (BUD), United Continental Holdings, Inc. (UAL), and The Boeing Company
                 7 (BA). Because the prior small investment had seemingly done well (although no funds
                 8 were returned), Mr. Hegde believed Mr. Bailey’s representation that this investment
                 9 would be profitable as well. When Mr. Hegde asked Mr. Bailey if the invested funds
               10 would be returnable upon request by Ming Global, he stated that they would be and
               11 confirmed that the money would be invested pursuant to the same terms as those stated
               12 by Mr. Mann. Ming Global thus transferred $200,000 to Monarch for this second
               13 investment opportunity on June 16, 2020, under the same terms and conditions as
               14 represented by Monarch for the initial $20,000 investment.
               15         28.   Around this same time, Mr. Bailey referred Ming Global to yet another
               16 purported representative of First Eastern Investments, his “boss” “Peter Lynd.” Like the
               17 others, Peter Lynd is not actually associated with First Eastern Investments, but rather is
               18 an agent of Monarch. Like the others, Peter Lynd is believed to be a fake name.
               19         29.   Peter Lynd called Mr. Hegde shortly thereafter to solicit Ming Global’s
               20 investment in “pre-IPO” call option shares in the company Royalty Pharma, PLC
               21 (RPRX) at a price of $19 per share. Mr. Hegde conducted his own research on RPRX
               22 and it appeared to be a sound investment opportunity in a pre-IPO pharmaceutical
               23 company. Mr. Hegde specifically inquired again if Ming Global’s money would be
               24 returned upon demand, and Mr. Lynd unequivocally responded that it could and would
               25 be returned. Again, in reliance on Monarch’s representations and because the prior
               26 investments appeared profitable, Ming Global made four separate transfers of funds
               27 totaling $1,900,000 to Monarch between June 17, 2020 and June 19, 2020. Mr. Lynd
               28
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                 1 confirmed this investment would be made under the same terms and conditions as those
                 2 represented by Monarch to govern the two prior investments.
                 3        30.    In early July 2020, Mr. Hegde told Mr. Lynd that Ming Global wanted to
                 4 liquidate its investments. Given the representations of Mr. Mann, Mr. Bailey, and Mr.
                 5 Lynd on behalf of Monarch, Mr. Hegde understood that these monies could be returned
                 6 upon Ming Global’s demand. However, Mr. Lynd told Mr. Hegde that Ming Global
                 7 must actually invest more money before Ming Global could sell its RPRX shares. He
                 8 stated that if Ming Global invested an additional $10 million to purchase additional
                 9 RPRX shares, the restricted shares (which could not be sold) would be converted to
               10 unrestricted shares (which could be sold) within two days, and Ming Global’s investment
               11 would be returned within a week. At that time, RPRX had completed its initial public
               12 offering and was trading on the Nasdaq for more than $40 per share. Thus, it seemed to
               13 Ming Global to be a sound investment to provide another $10 million to purchase
               14 additional shares of RPRX. In reliance on this representation, Ming Global transferred
               15 an additional $10 million to Monarch between July 2, 2020 and August 11, 2020. This
               16 transfer was made for the specific purpose of enabling the return of the entire capital that
               17 had been invested with First Eastern Investments, as Monarch represented would be the
               18 case.
               19         31.    Mr. Lynd stopped returning calls and emails from Mr. Hegde and other
               20 representatives of Ming Global shortly thereafter. Ming Global became concerned by
               21 the lack of communication and the failure of Monarch to return the money as agreed.
               22 Thereafter, Mr. Hegde was informed by Mr. Bailey that Mr. Lynd had to suddenly go to
               23 London because his sister had taken ill and that Mr. Bailey would again take over the
               24 account.
               25         32.    On July 21, 2020, Monarch confirmed that Ming Global’s recent transfers
               26 were received and that “once the payments that were transferred to us today have cleared
               27 you will be paid in full for your last trade.” (July 21, 2020 email from Angela Fung, p.
               28
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                 1 1.) Attached hereto as Exhibit 3 is a true and correct copy of the July 21, 2020 email
                 2 from Monarch’s representative, Angela Fung.
                 3        33.    On July 29, 2020, Monarch required that Ming Global transfer additional
                 4 funds in the amounts of $475,000 and $323,000 for what it called a “de-restriction fee”,
                 5 as a necessary condition before the money could be returned. After this payment,
                 6 Monarch confirmed that Ming Global’s payments would be returned to Ming Global in
                 7 fourteen days: “In answer to your query, yes you are absolutely correct. It will be
                 8 refunded within 10-14 days so I can confirm that.” (July 29, 2020 email from Scott
                 9 Bailey, p. 1.) Attached hereto as Exhibit 4 is a true and correct copy of the July 29,
               10 2020 email from Monarch’s representative, Scott Bailey. Attached hereto as Exhibit 5
               11 is a true and correct copy of the de-restriction fee payment confirmation Ming Global
               12 received from Monarch. Attached hereto as Exhibit 6 is a true and correct copy of the
               13 de-restriction payment receipt Ming Global received from Monarch. Attached hereto as
               14 Exhibit 7 is a true and correct copy of the Certificate of De-Restriction Ming Global
               15 received from Monarch, reflecting that the De-Restriction was disposed “Through
               16 Monarch Holdings, Inc.”
               17         34.    On July 31, 2020, Monarch confirmed its agreement with Ming Global and
               18 told Ming Global that “the available cash is now $19,736,940.00. As agreed with Mr.
               19 Hegde, our transfer agent will initiate the transaction at their earliest convenience,
               20 however please understand it will be New York morning time.” (July 31, 2020 email
               21 from Angela Fung, p. 1.) Attached hereto as Exhibit 8 is a true and correct copy of the
               22 July 31, 2020 email from Monarch’s representative, Angela Fung. This was false.
               23         35.    Despite Monarch’s agreement to transfer the funds in the morning (Eastern
               24 Time) on August 1, 2020, the transfer of these funds (and sums due from subsequent
               25 transfers), have not been made.
               26         36.    Ming Global has repeatedly inquired about the status of the transfer of
               27 funds. In response, Monarch has provided a slew of ambiguous explanations and
               28 excuses for the delay, including “tax” and “regulatory issues” for which it has not
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                 1 provided any documentary support.         It has also demanded that Ming Global supply
                 2 additional documentation and pay additional money. Left with no other option to receive
                 3 its money, Ming Global has complied.
                 4        37.      None of Monarch’s explanations for its delay in the release of funds have
                 5 been supported by documents, despite Ming Global’s requests for such support. All the
                 6 while, Monarch has repeatedly asserted that payments are forthcoming.
                 7        38.      Monarch’s purported explanations, excuses, and false promises (which
                 8 were made in writing) include, but are not limited to, the communications detailed
                 9 below:
               10               a. On August 4, 2020: “The transfer was blocked by the tax department of the
               11                  bank as they couldn’t confirm Ming Global Ltd registered address.”
               12                  […]
               13                  The total cash balance is $26,183,540.00 plus a further $798,000.00 from
               14                  the refunded de-restriction fee, however we do not anticipate this to be
               15                  available for another week or so. We have already processed the insurance
               16                  claim, so it should become available no later than 14th of August.”
               17                  (August 4, 2020 email from Angela Fung, p. 4.) Attached hereto as Exhibit
               18                  9 is a true and correct copy of the August 4, 2020 email from Monarch’s
               19                  representative, Angela Fung.
               20               b. On August 11, 2020: “We regret to inform you that Mr. Scott Bailey’s
               21                  personal margin for $250,000.00 has been rejected by the C.A.T.S,
               22                  therefore there is still an outstanding balance which requires your
               23                  immediate attention, as it needs to be settled before we can instruct the
               24                  transfer agent to finalise the repatriation of your proceeds.” (August 11,
               25                  2020 email from Angela Fung, p. 5.) Attached hereto as Exhibit 10 is a
               26                  true and correct copy of the August 11, 2020 email from Monarch’s
               27                  representative, Angela Fung.
               28
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                 1              c. On August 11, 2020: “I have just been informed the funds will arrive no
                 2                 later than 10:00 am tomorrow morning as we must wait for the transfer
                 3                 Donna executed earlier today to clear in the account.” (August 11, 2020
                 4                 email from Scott Bailey via Angela Fung. p. 1.) Attached hereto as Exhibit
                 5                 11 is a true and correct copy of the August 11, 2020 email from Monarch’s
                 6                 representative, Scott Bailey via Angela Fung.
                 7              d. On August 13, 2020: “I am awaiting on a confidential report from the US
                 8                 in reference to the transaction of your funds. The conversion of your
                 9                 account ownership from private to corporate is my suspicion and that of the
               10                  compliance team here at First Eastern. Without this getting delayed any
               11                  further, I have ‘people’ finding out also if this is a capital gains issue on the
               12                  funds due to the above status of account having changed.” (August 13,
               13                  2020 email from Graham Cowell, p. 1.) Attached hereto as Exhibit 12 is a
               14                  true and correct copy of the August 13, 2020 email from Monarch’s
               15                  representative, Graham Cowell.
               16               e. On August 25, 2020: “I have made all necessary filings with regards to
               17                  your case. As soon as we receive the written documents from the U.S. I
               18                  shall        send         you         and         Donna           a         copy.
               19                  We will be making ready all temporary funding required for the ‘Stock
               20                  Transfer Tax’ on your behalf. Once this is completed, you as the receiving
               21                  client will be reimbursed with your payment in full, which upon receipt may
               22                  then be reimbursed to us.” (August 25, 2020 email from Graham Cowell,
               23                  p. 1.) Attached hereto as Exhibit 13 is a true and correct copy of the August
               24                  25, 2020 email from Monarch’s representative, Graham Cowell.
               25         39.      On August 14, 2020, Monarch informed Ming Global that it could not
               26 release the funds owed to it, totaling approximately $26,000,000, unless Ming Global
               27 completed (and paid for) an Anti-Money Laundering (“AML”) Certification. The AML
               28 Certification would cost Ming Global an additional $643,073.31. Ming Global once
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                 1 again agreed to Monarch’s request so that the transfer of funds could finally be
                 2 completed.
                 3        40.    Ming Global and Monarch’s agreement is documented in an August 14,
                 4 2020 Guarantee Letter, which states that “upon completion of an AML Certification
                 5 [Ming Global] will receive a financial settlement in the amount of $26,683,540” and that
                 6 Monarch will “proceed with remittance of the funds . . . within a period of not more than
                 7 3 (three) business days.” Attached hereto as Exhibit 14 is a true and correct copy of the
                 8 Guarantee Letter.
                 9        41.    On August 14, 2020, Ming Global paid hundreds of thousands for the AML
               10 Certification and provided it to Monarch. Attached hereto as Exhibit 15 is a true and
               11 correct copy of the AML fee confirmation Ming Global received from Monarch.
               12 Attached hereto as Exhibit 16 is a true and correct copy of the transaction receipt
               13 Monarch provided for Ming Global’s AML fee payment. Despite receiving the AML
               14 Certification, however, Monarch still refused to return Ming Global’s money.
               15         42.    On August 27, 2020, Monarch sent Ming Global and its bank an urgent
               16 message:
               17                WE ARE WAITING FOR THE EXACT DATE TO BE
               18                CONFIRMED WITH OUR OUTGOING TRANSFER
               19                DEPARTMENT. TAKE NOTE THAT PREVIOUS COMPLIANCE
               20                IRREGULARITIES HAVE BEEN A FACTOR IN TIME DELAY.
               21                ADVISE CLIENT THAT ACCOUNT IS CONFIRMED TO BE
               22                AML CERTIFIED.
               23                FURTHER WE CONFIRM THAT WE HAVE STILL YET TO
               24                RECEIVE ADDITIONAL NOTIFICATIONS OF REGULATORY
               25                INCIDENT REGARDING THE BENEFICIARY. WE WILL
               26                EXERCISE OUR COMPLIANCE RIGHT WHEN INITIATING
               27                REMITTANCE TO BENEFICIARY.
               28
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                 1               ADVISE TO AWAIT SWIFT RECEIPT ONCE VALUE DATE
                 2               CONFIRMED.
                 3        Attached hereto as Exhibit 17 is a true and correct copy of the August 27, 2020
                 4 message sent by Monarch to Ming Global.
                 5        43.    On August 31, 2020, after more than a month had passed since Ming Global
                 6 first requested the return of the sums owed to it by Monarch, Mr. Hegde sent Mr. Bailey
                 7 an email:
                 8        Scott, at this stage having no visibility or clarity is making lots of my investors
                 9        nervous, including me. And as we all know nervous people are not good.
               10         The issue would have calmed down if we knew exactly what was going on
               11         and had transparency & visibility in paper work, but each time we hear its the
               12         “IRS, it’s “BOFA”, its trump etc which leaves us confused and nervous.
               13         All we now ask for is to execute our Guarantee letter and ensure the funds are
               14         in our account within 2 business days as promised. Not much to ask for.
               15         Attached hereto as Exhibit 18 is a true and correct copy of the August 31,
               16 2020 email Mr. Hegde sent to Scott Bailey.
               17         44.    On August 31, 2020, Ming Global also attempted to reach Monarch directly
               18 to inquire about the status of the transfer of funds. Monarch did not respond to Ming
               19 Global’s efforts to contact it. But shortly thereafter, Mr. Bailey instructed Mr. Hegde
               20 not to contact Monarch directly and that Monarch will not respond to Ming Global’s
               21 requests. This reinforced Ming Global’s belief that Monarch was simply a front for this
               22 scheme.
               23         45.    On September 2, 2020, Monarch sent a letter, purportedly from Victor Chu,
               24 CEO of First Eastern Investments, informing Ming Global that he could not release the
               25 funds because “the IRS believes there is a 30% withholding tax associated with the Ming
               26 Global trading account. This is of course absurd.” Monarch then proposed a “20 day
               27 trading cycle” as a mechanism to resolve the purported regulatory issues. Attached
               28
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                 1 hereto as Exhibit 19 is a true and correct copy of the September 2, 2020 letter, allegedly
                 2 from Victor Chu of First Eastern Investments.
                 3         46.     On September 2, 2020, Ming Global sent a letter to Monarch again
                 4 addressing its failure to remit the funds:
                 5         “Upon your recommendation, advice and instructions, we paid a total of US
                 6         $13,329,181.76 to Monarch Holdings Inc. for investment purpose. We have
                 7         been expecting a financial settlement in the amount of US $27326613.30 (the
                 8         “Outstanding Sum”) from our investment since 16th August 2020. This is
                 9         evidenced by the Letter of Guarantee issued by you in our favour dated 14
               10          August 2020. However, there remains no indication as to when the
               11          Outstanding Sum would be paid to us. Your initial explanation was that the
               12          Outstanding Sum was in an account with Bank of America in Singapore which
               13          was somehow being restricted and thus could not be paid out. In your letter to
               14          us dated 2 September 2020, you seem to be suggesting that the Outstanding
               15          Sum is subject to 30% withholding tax by the IRS and therefore cannot be
               16          paid before this is resolved. In the same letter, you seem to be further
               17          suggesting that the “regulators” (we do not know who they are) have concerns
               18          over our account. At all times, we have not been provided with any details or
               19          particulars concerning these alleged issues, or documents in support of the
               20          above purported explanations for the delay in payment of the Outstanding
               21          Sum.”
               22          Attached hereto as Exhibit 20 is a true and correct copy of the September 2, 2020
               23 letter Mr. Hegde sent to Monarch.
               24          47.     On September 7, 2020, Ming Global also followed up on the refund for the
               25 de-restriction fee that Ming Global paid on July 29, 2020, which Monarch confirmed
               26 would be refunded to Ming Global within fourteen days. Monarch responded with
               27 another unsupported explanation: “the de-restriction refund has been halted until we
               28 satisfy the bank regulators which is why we will be executing several trades over the
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                 1 next 2 weeks or so.” (September 7, 2020 email exchange between Donna Marie and
                 2 Angela Fung, p. 2.) Attached hereto as Exhibit 21 is a true and correct copy of the
                 3 September 7, 2020 email exchange between Donna Marie of Ming Global to a
                 4 representative of Monarch, Angela Fung.
                 5        48.    On September 14, 2020, Monarch advised Ming Global that it will be
                 6 “initiating a further 4 trades tonight and a further 3 trades tomorrow, which will be a
                 7 total of 15 trades throughout the trading cycle. This will be sufficient enough for us to
                 8 proceed with the repatriation back to your Ming Global Ltd account. As agreed, once the
                 9 first $15,000,000.00 has successfully cleared, we will discuss the location of remaining
               10 balance.” (September 14, 2020 email from Scott Bailey, p. 1.) Attached hereto as
               11 Exhibit 22 is a true and correct copy of the September 14, 2020 email from Monarch’s
               12 representative, Scott Bailey. However, as with each of its previous promises and
               13 representations, this was false. No funds were transferred to Ming Global.
               14         49.    In sum, Ming Global has transferred $13,329,181.76 to Monarch. Attached
               15 hereto as Exhibit 23 is a true and correct copy of Ming Global’s Statement of Account
               16 with Monarch, reflecting each of the transfers to Monarch.
               17         50.    Monarch has provided Ming Global with documentation of its investments
               18 and transactions, including remittance instructions to Monarch’s US Bank account, trade
               19 confirmations, and transaction receipts, examples of which are attached hereto. Attached
               20 hereto as Exhibit 24 is a true and correct copy of one of the remittance instructions to
               21 Monarch’s US Bank that Monarch provided to Ming Global; attached hereto as Exhibit
               22 25 is a true and correct copy of one of the trade confirmations Monarch provided to Ming
               23 Global; attached hereto as Exhibit 26 is a true and correct copy of one of the transaction
               24 receipts Monarch provided to Ming Global. Ming Global also has bank documents
               25 reflecting Ming Global transfers to Monarch. Attached hereto as Exhibit 27 is a true
               26 and correct copy of one of Ming Global’s online HSBC account statements reflecting
               27 one of its transfers to Monarch.
               28
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                 1         51.      At all relevant times, Ming Global believed Monarch and the individuals
                 2 acting on its behalf were actually acting on behalf of First Eastern Investments, and that
                 3 all of the funds Ming Global invested were being properly managed by a sophisticated
                 4 private equity firm, First Eastern Investments. This belief was based on the multiple
                 5 statements made by Monarch and its representatives and the documents they provided,
                 6 as reflected herein.
                 7         52.      Ming Global was wrong. None of Monarch’s agents were employed with
                 8 or authorized to represent First Eastern Investments, and Ming Global’s investments
                 9 were not being managed by First Eastern Investments. Instead, these individuals were
               10 working through Monarch to defraud Ming Global.
               11          53.      After growing suspicious of Monarch due to its failure to return the sums
               12 owed to Ming Global and its unsupported explanations for delays, on September 7, 2020,
               13 Ming Global contacted Control Risks, a consulting firm that specializes in investigating
               14 financial fraud, to research Monarch. In a report provided to Ming Global, Control Risks
               15 found the following:
               16                a. None of the identities of any of the individuals purportedly representing
               17                   First Eastern Investments with whom Mr. Hegde interacted could be
               18                   confirmed. These individuals do not have internet presences and therefore
               19                   the names they provided are believed to be fake.
               20                b. Victor Chu, the founder and CEO of the real First Eastern Investments,
               21                   confirmed that none of the parties with whom Ming Global has interacted
               22                   are linked to him. As such, the investigative firm concluded that Monarch
               23                   is “fraudulently using Victor Chu’s name and that of his firm.”
               24                c. The investigative firm also found discrepancies between the email address
               25                   listed for First Eastern Investments on the Hong Kong Securities and
               26                   Futures Commission (“SFC”) registry, and the email address Monarch
               27                   provided to Ming Global.
               28
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                 1         54.    Through open source research, Ming Global has also discovered that
                 2 Monarch is a Nevada entity registered to do business in California, and that Monarch’s
                 3 filings with the California Secretary of State list a sole corporate director, “Veronica So”.
                 4 Attached hereto as Exhibit 28 is a true and correct copy of Monarch Holdings, Inc.’s
                 5 Statement and Designation by Foreign Corporation filed with the California Secretary
                 6 of State on June, 18, 2020. Attached hereto as Exhibit 29 is a true and correct copy of
                 7 Monarch Holdings, Inc.’s Statement of Information filed with the California Secretary
                 8 of State on August 5, 2020.
                 9         55.    Monarch’s corporate filings also list the address of Monarch’s office and
               10 its corporate director as 1625 N. El Camino Real, Unit B, San Clemente, California
               11 92672. According to internet research, a small storage facility is located at this address.
               12 Attached hereto as Exhibit 30 is a true and correct copy of the search result for the
               13 address reflected on Monarch Holdings, Inc.’s filings with the California Secretary of
               14 State, 1625 N. El Camino Real, Unit B, San Clemente, California 92672. Included is an
               15 image provided by Google’s “street view” feature that provides an image of what is
               16 located at the address mentioned. The image was captured on September 21, 2020.
               17          56.    Monarch’s website lists its California address as 33 Mistral, Aliso Viejo,
               18 California 92656, which, according to internet research, appears to be a condominium
               19 in a residential area. Attached hereto as Exhibit 31 is a true and correct copy of Monarch
               20 Holdings, Inc.’s contact page on the entity’s website, monarchholdingsinc.com, captured
               21 on September 21, 2020. Attached hereto as Exhibit 32 is a true and correct copy of the
               22 search result for the address reflected on Monarch Holding, Inc.’s website, 33 Mistral,
               23 Aliso Viejo, CA 92656. Included is an image provided by Google’s “street view” feature
               24 that provides an image of what appears to be a condominium located at the address
               25 mentioned. The image was captured on September 21, 2020.
               26          57.    Additionally, Monarch is not registered as a U.S. securities broker on the
               27 Financial Industry Regulatory Authority’s list of authorized securities brokers. (website:
               28 https://brokercheck.finra.org/). Attached hereto as Exhibit 33 is a true and correct copy
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                 1 of the search result for “Monarch” for security brokerage firms within California and
                 2 Nevada       on   the   U.S.   Financial   Industry   Regulatory   Authority’s      website
                 3 brokercheck.finra.org. The government agency’s website states, “BrokerCheck tells you
                 4 instantly whether a person or firm is registered, as required by law, to sell securities
                 5 (stocks, bonds, mutual funds and more), offer investment advice or both.”
                 6        58.     Ms. So also is not registered as a U.S. securities broker on the Financial
                 7 Industry Regulatory Authority’s list of authorized securities brokers.             (website:
                 8 https://brokercheck.finra.org/). Attached hereto as Exhibit 34 is a true and correct copy
                 9 of the search result for “Veronica So” for individual brokers within California and
               10 Nevada        on   the   U.S.   Financial   Industry   Regulatory   Authority’s      website
               11 brokercheck.finra.org.
               12         59.     On September 15, 2020, a report regarding Monarch’s transactions with
               13 Ming Global was filed by Control Risks with the Hong Kong Police Force on Ming
               14 Global’s behalf. Attached hereto as Exhibit 35 is a true and correct copy of the
               15 September 15, 2020 police report. Attached hereto as Exhibit 36 is a true and correct
               16 copy of Ming Global’s Letter of Authority for Control Risks to file the report with the
               17 Hong Kong Police Force. No action has been taken on that report to date. Because the
               18 funds were transferred to California and held by a California entity, Ming Global seeks
               19 this Court’s assistance to recover the millions that have been stolen.
               20         60.     Ming Global has continued to engage with Monarch and its agents in an
               21 attempt to secure the return of the funds owed to it. Unsurprisingly, Monarch has
               22 continued its efforts to extract more money from Ming Global while promising a return
               23 of the funds.
               24         61.     Monarch’s latest effort to extract more money from Ming Global is
               25 documented in a September 29, 2020 email between Mr. Newton, the purported head of
               26 compliance at First Eastern Investments, and Mr. Hegde. In that email, Mr. Newton
               27 requests that Mr. Hegde open a personal account, fund it with $100,000 (although he
               28 indicates that “a bit more won’t be harmful”) for the purported purpose of ending an
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                 1 “audit” by Bank of America and finally permitting the transfer of funds to Ming Global.
                 2 (September 29, 2020 email exchange between Zach Hegde and Simon Newton.)
                 3 Attached hereto as Exhibit 37 is a true and correct copy of the September 29, 2020 email
                 4 exchange between Mr. Newton and Mr. Hegde.
                 5        62.    Attached to the September 29, 2020 email, Mr. Newton provided
                 6 remittance instructions to a new JP Morgan Chase account of another purported holding
                 7 company, Irvine Management Transfers and Holdings Corp at 170 Forest Ave., Glen
                 8 Cove, New York 11542. Attached hereto as Exhibit 38 is a true and correct copy of the
                 9 remittance instructions. According to an internet search of the 170 Forest Ave address,
               10 it appears to be located in a strip mall. Attached hereto as Exhibit 39 is a true and correct
               11 copy of the search results for 170 Forest Ave., Glen Cove, New York 11542.
               12         63.    Irvine Management Transfers and Holdings Corp is listed as an active
               13 corporation on the New York Department of State Business Entity Database website.
               14 Attached hereto as Exhibit 40 is a true and correct copy of the entity information
               15 provided by Irvine Management Transfers and Holdings Corp on the New York
               16 Department of State (Divisions of Corporations) website. The entity information lists
               17 Ms. D’Urso at 9A Frost Pond Rd., Glen Cove, New York 11542 as its contact and
               18 address for Department of State process, but does not identify a principal place of
               19 business. From an internet search of the 9A Frost Pond Rd. address, it appears to be a
               20 private residence. Attached hereto as Exhibit 41 is a true and correct copy of the search
               21 results for 9A Frost Pond Rd., Glen Cove, New York 11542.
               22         64.    According to its website, Irvine Management Transfers and Holdings Corp
               23 manages transactions for institutional investors around the globe including sovereign
               24 wealth funds, corporate and public plans. Attached hereto as Exhibit 42 is a true and
               25 correct copy of the website https://www.irvinemgmt.com/.
               26         65.    However, neither Ms. D’Urso or Irvine Management Transfers and
               27 Holdings Corp are registered as U.S. securities brokers on the Financial Industry
               28 Regulatory      Authority’s    list   of   authorized   securities   brokers.        (website:
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                 1 https://brokercheck.finra.org/). Attached hereto as Exhibit 43 is a true and correct copy
                 2 of the search result for “Irvine Management Transfers and Holdings Corp” for security
                 3 brokerage firms within New York on the U.S. Financial Industry Regulatory Authority’s
                 4 website brokercheck.finra.org. Attached hereto as Exhibit 44 is a true and correct copy
                 5 of the search result for “Alyssa D’Urso” for individual brokers within New York on the
                 6 U.S. Financial Industry Regulatory Authority’s website brokercheck.finra.org.
                 7         66.   After Mr. Newton requested Ming Global remit $100,000 (or more) to a
                 8 new account, Ming Global contacted another investigative firm regarding this new bank
                 9 account and beneficiary. The report found that Ms. D’Urso is identified as an officer of
               10 Irvine Management Transfers and Holdings Corp and that 9A Frost Pond Rd., Glen
               11 Cove, New York 11542 is her personal residence. It also noted that Ms. D’Urso is the
               12 corporate officer for another entity, BA Management Holdings Corporation, listed at the
               13 same 9A Frost Pond Rd., Glen Cove, New York 11542 address. In addition, the
               14 investigation revealed that neither Ms. D’Urso, or the company identified as Irvine
               15 Management Transfers and Holdings Corp have made any filings with the SEC and that
               16 Ms. D’Urso does not hold any professional licenses in New York State.
               17          67.   Ms. D’Urso and the new beneficiary account holder are participants in
               18 Monarch’s fraudulent scheme to pilfer Ming Global’s funds and shield themselves
               19 behind fake holding companies. Based on the facts herein and the revelations that
               20 Monarch is using new accounts, Ming Global is gravely concerned that its funds are
               21 being moved between Monarch’s various accounts in an effort to permanently divest
               22 Ming Global of its funds and render recovery impossible.
               23          Defendant, Matin and Nguyen’s Involvement in the Fraudulent Scheme
               24          68.   Subsequent to the filing of the initial Complaint in this matter, Plaintiff
               25 expeditiously served subpoenas on the various bank entities to which it had deposited
               26 funds.     A review of these financial records, coupled with investigative research
               27 conducted by private investigators and information obtained from internet service
               28 providers, revealed that both Defendants, Matin and Nguyen were key parts of the fraud.
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                 1         69.     Between June 6, 2020 and July 22, 2020, the US Bank Account (account
                 2 number 157517845481) in the name of Monarch Holdings, Inc. received in the vicinity
                 3 of $5,919,813.05 from Ming Global’s invested funds over fourteen (14) transactions.
                 4 Both Defendant Matin and Defendant So were signatories on the US Bank Account.
                 5 While both So and Matin engaged in transactions and had control over the US Bank
                 6 Account, Matin apparently facilitated the transfer of the vast majority of the funds from
                 7 the US Bank account.         None of the funds were transferred for purposes of the
                 8 investments that Ming Global believed it was financing. Instead, the monies were
                 9 simply stolen, i.e. transferred and dissipated over a very short period of time.
               10          70.     In total, Matin ultimately caused nearly all of the $5,919,813.05 to be
               11 transferred out of the US Bank account. Amongst these transfers were $4,997,592.00 in
               12 “counter withdrawals” Matin facilitated directly at the US Bank in the Aliso Viejo
               13 branch.        The remaining transfers were wires, debit purchases, checks and ATM
               14 Withdrawals. Matin managed to clear out all but $78.09 by August 14, 2020 from the
               15 US Bank account. The US Bank account was closed on August 21, 2020 with a $0.00
               16 balance.
               17          71.     The Bank of America account (account number 325128858097), also in
               18 the name of Monarch Holdings, Inc., received in the vicinity of $7,409,017.00 from
               19 Ming Global over 17 wire transactions between June 18, 2020 and August 18, 2020.
               20          72.     On September 23, 2019, Defendant, So, opened the Bank of America
               21 account. On May 22, 2020, Matin was added as the co-signatory of the Bank of America
               22 account. While both So and Matin engaged in transactions and had control and access
               23 to the Bank of America account, Matin was apparently responsible for the transferring
               24 of the vast majority of funds out of the Bank of America account. None of the funds
               25 were transferred for purposes of the investments that Ming Global understood it was
               26 investing in.
               27
               28
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                 1        73.   Ultimately, nearly all the funds were cleared out of the Bank of America
                 2 account by Martin by September 3, 2020. The Bank of America account was closed on
                 3 September 3, 2020 with a balance of $0.00.
                 4        74.   A large portion of the funds directly wired by Ming Global went to a
                 5 Singaporean entity by the name of Wellington York Partners (“Wellington York”). In
                 6 total, Wellington York Partners received approximately $5,844,421.00 of Ming Global’s
                 7 funds. These funds were transferred to Wellington York over a series of seventeen
                 8 transactions from June 18, 2020 to August 5, 2020.
                 9        75.    Wellington York Partners is an entity that Plaintiff is informed and
               10 believes is wholly controlled by Defendant, Nguyen through nominee directors in the
               11 country of Singapore and Vietnam. Plaintiff is informed and believes that the funds that
               12 went into Wellington York were paid out at Nguyen’s direction. Wellington York paid
               13 out approximately $474,213.63 back to the U.S at Nguyen’s direction, including
               14 payments for Nguyen’s gambling debts, payments to his relatives and affiliates and
               15 payments to his affiliated entities. The remainder of the Wellington York funds have
               16 been re-distributed to fourteen additional countries.
               17         76.   Certain of Ming Global’s funds were transferred directly out of the Bank of
               18 America Account to an individual by the name of Shibli Rubaya Ul Islam (“Islam”).
               19         77.   A total of $235,934.11 were paid directly to Islam and $563,581.90 of
               20 additional funds were paid out to an entity by the name of Xin Bangla Fabrics. Plaintiff
               21 is informed and believes and thereon alleges that Xin Bangla Fabrics is operated by a
               22 man named “Ariful Ul Islam”, a 78 year old man who is the Uncle of Islam.
               23 Additionally, an entity by the name of “Monarch Holdings” is registered in Bangladesh
               24 under the name of “Shakib Al Hasan”. Plaintiff is further informed and believes that
               25 shortly after Xin Bangla Fabrics received funds from Monarch, Defendant, Matin
               26 received a business license for one of his Bangladeshi businesses that requires approval
               27 from the Bangladeshi Securities and Exchange Commission. Islam is the Government
               28 Chairman of the Bangladesh Securities and Exchange Commission. As such, Plaintiff
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                 1 is informed and believes that the monies forwarded to Islam and Xin Bangla Fabrics
                 2 were done for Matin’s personal enrichment.
                 3                                   FIRST CLAIM FOR RELIEF
                 4                                    (For Breach of Contract)
                 5                                     (Against All Defendants)
                 6        78.      Ming Global realleges and incorporates herein by reference each and every
                 7 allegation set forth in paragraphs 1 through 66, inclusive, as though set forth in full
                 8 herein.
                 9                                   Breach of Express Contracts
               10         79.      Ming Global and Monarch entered into the following contracts:
               11               a. First Contract: On or about June 3, 2020, Ming Global agreed to pay
               12                  Monarch $20,000, in exchange for Monarch’s 4% commission per
               13                  transaction, for an investment in the stock of two entities, which Monarch
               14                  would remit upon Ming Global’s request.
               15               b. Second Contract: On or about June 16, 2020, Ming Global agreed to pay
               16                  Monarch $200,000 for a second investment under the same terms as the
               17                  First Contract.
               18               c. Third Contract: On or about July 2, 2020, Ming Global agreed to pay an
               19                  additional $10,000,000 to Monarch in exchange for the conversion of
               20                  Ming Global’s allegedly restricted stocks to unrestricted stocks thereby
               21                  permitting Ming Global to liquidate its investments. This contract was
               22                  memorialized in a July 31, 2020 email from Monarch to Ming Global.
               23               d. Fourth Contract: On or about July 29, 2020, Ming Global agreed to make
               24                  additional transfers of funds in the amount of $475,000 and $323,000 to
               25                  Monarch to facilitate the transfer the outstanding funds owed to Ming
               26                  Global. Monarch agreed to return these additional payments within
               27                  fourteen days after they were made on July 29, 2020.
               28
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                 1              e. Fifth Contract: On or about August 14, 2020, Ming Global agreed to pay
                 2                 $643,073.31 for an AML Certification, in exchange for Monarch’s
                 3                 guarantee that it would transfer the outstanding $26,683,540 sum owed to
                 4                 Ming Global within three days of the validation of the AML Certification.
                 5        80.      Ming Global fully performed under the First, Second, Third, Fourth and
                 6 Fifth Contracts, making each of the requested transfers and providing the AML
                 7 Certification.
                 8        81.      Monarch has not performed under any of its express contracts with Ming
                 9 Global. To date, Monarch has not remitted any of the agreed upon payments to Ming
               10 Global as required by each of the contracts.
               11         82.      As a proximate cause of Monarch’s breach of the express contracts, Ming
               12 Global has been harmed by the loss of $26,683,540 outstanding sum it is owed, inclusive
               13 of the $13,329,181.76 it invested and transferred to Monarch. Monarch’s failure to remit
               14 payments due under the contracts was a substantial factor in causing this harm.
               15                                 Breach of Implied Contract
               16         83.      Even absent the express contracts Monarch entered into with Ming Global,
               17 through its conduct, Monarch entered into an implied-in-fact contract with Ming Global.
               18 Specifically, when Ming Global made the transfers of funds to Monarch in July 2020 for
               19 the purposes of the unrestricted stock purchase and transfers of the additional fees and
               20 insurance payments on July 29, 2020, which Monarch accepted, it was impliedly agreed
               21 that Monarch would timely remit the sums owed to Ming Global.
               22         84.      Ming Global fully performed on the implied-in-fact contract by making the
               23 July 2020 payments and payments for the additional fees and insurance to Monarch.
               24         85.      Monarch refused to remit these sums owed to Ming Global.
               25         86.      Ming Global has been harmed by Monarch’s refusal to return the sums
               26 owed, and Monarch, as the party with control over the funds which refused to release
               27 them, was a substantial factor in the harm.
               28
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                 1                              SECOND CLAIM FOR RELIEF
                 2           (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                 3                                   (Against All Defendants)
                 4        87.      Ming Global realleges and incorporates herein by reference each and every
                 5 allegation set forth in paragraphs 1 through 75, inclusive, as though set forth in full
                 6 herein.
                 7        88.      Ming Global and Monarch entered into the following contracts:
                 8              a. First Contract: On or about June 3, 2020, Ming Global agreed to pay
                 9                 Monarch $20,000, in exchange for Monarch’s 4% commission per
               10                  transaction, for an investment in the stock of two entities, which Monarch
               11                  would remit upon Ming Global’s request.
               12               b. Second Contract: On or about June 16, 2020, Ming Global agreed to pay
               13                  Monarch $200,000 for a second investment under the same terms as the
               14                  First Contract.
               15               c. Third Contract: On or about July 2, 2020, Ming Global agreed to pay an
               16                  additional $10,000,000 to Monarch in exchange for the conversion of
               17                  Ming Global’s allegedly restricted stocks to unrestricted stocks thereby
               18                  permitting Ming Global to liquidate its investments. This contract was
               19                  memorialized in a July 31, 2020 email from Monarch to Ming Global.
               20               d. Fourth Contract: On or about July 29, 2020, Ming Global agreed to make
               21                  additional transfers of funds in the amount of $475,000 and $323,000 to
               22                  Monarch to facilitate the transfer the outstanding sums owed to Ming
               23                  Global. Monarch agreed to return these additional payments within
               24                  fourteen days after they were made on July 29, 2020.
               25               a. Fifth Contract: On or about August 14, 2020, Ming Global agreed to pay
               26                  $643,073.31 for an AML Certification, in exchange for Monarch’s
               27                  guarantee that it would transfer the outstanding $26,683,540 sum owed to
               28                  Ming Global within three days of the validation of the AML Certification.
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                 1         89.   Ming Global fully performed under the express contracts, making each of
                 2 the requested transfers and providing the AML Certification.
                 3         90.   Monarch has unfairly interfered with Ming Global’s right to receive the
                 4 benefits of the express contracts by failing to secure the transfer of sums owed to Ming
                 5 Global on the basis of bad faith and unsupported justifications.
                 6         91.   As a proximate cause of Monarch’s breach of the implied covenant of good
                 7 faith and fair dealing, Ming Global has been harmed by the loss of the $26,683,540 sums
                 8 it is owed, inclusive of the $13,329,181.76 it originally invested with Monarch.
                 9        Breach of Covenant of Good Faith and Fair Dealing in Implied Contract
               10          92.   Even absent the express contracts Monarch entered into with Ming Global,
               11 through its conduct, Monarch entered into an implied-in-fact contract with Ming Global.
               12 Specifically, when Ming Global made the transfers of funds to Monarch in July 2020 for
               13 the purposes of the unrestricted stock purchase and the additional fees and insurance
               14 payments on July 29, 2020, which Monarch accepted, it was impliedly agreed that
               15 Monarch would timely remit the sums owed to Ming Global.
               16          93.   Ming Global fully performed on the implied-in-fact contract by making the
               17 July 2020 payments and payments for the additional fees and insurance to Monarch.
               18          94.   Monarch unlawfully interfered with Ming Global’s right to receive benefits
               19 of the contract by refusing to remit the funds due to Ming Global.
               20          95.   Ming Global has been harmed by Monarch’s refusal to return the sums
               21 owed, and Monarch, as the party with control over the funds which refused to release
               22 them, was a substantial factor in the harm.
               23                                 THIRD CLAIM FOR RELIEF
               24                                           (For Fraud)
               25                                     (Against All Defendants)
               26          96.   Ming Global realleges and incorporates herein by reference each and every
               27 allegation set forth in paragraphs 1 through 84, inclusive, as though set forth in full
               28 herein.
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                 1              Fraudulent Misrepresentation Regarding Monarch’s Identity
                 2        97.    Monarch, through its agents, repeatedly represented to Ming Global that it
                 3 was the Hong Kong private equity firm, First Eastern Investments.
                 4        98.    On information and belief, Monarch and its agents are not associated with
                 5 First Eastern Investments.
                 6        99.    Monarch made this misrepresentation with the intent to induce Ming Global
                 7 to rely on it and transfer funds to Monarch for alleged investment opportunities.
                 8        100. Ming Global reasonably relied on Monarch’s representations. After a
                 9 review of First Eastern Investments and its CEO, Victor Chu, Ming Global decided to
               10 invest with what it believed was First Eastern Investments and made numerous transfers
               11 to Monarch in the amount of $13,329,181.76.
               12         101. Monarch’s misrepresentation was made with malice, fraud, and oppression.
               13         102. Ming Global was harmed by Monarch’s fraudulent misrepresentations
               14 because, on information and belief, Ming Global did not receive the professional services
               15 it expected from a legitimate private equity firm, and instead has been unable to recoup
               16 any profits allegedly made on its investments or its original investments due to
               17 Monarch’s unprofessional, fraudulent, obstructionist acts.
               18            Fraud Regarding Solicitation and Return of Ming Global’s Funds
               19         103. On or about June 3, 2020, Monarch represented that if Ming Global
               20 transferred $20,000 to Monarch for an investment in the stock of two entities, Monarch
               21 would remit this investment to Ming Global upon its request. On or about June 16, 2020,
               22 Monarch represented that the same agreement to remit the funds upon request would
               23 apply to Ming Global’s second investment of $200,000.
               24         104. On or about July 2, 2020, Monarch represented to Ming Global that if it
               25 transferred additional funds to Monarch in the amount of $10,000,000, Ming Global
               26 could liquidate its investments. On or about July 31, 2020, Monarch again represented
               27 to Ming Global in email that “the available cash is now $19,736,940.00. As agreed with
               28
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                 1 Mr. Hegde, our transfer agent will initiate the transaction at their earliest convenience,
                 2 however please understand it will be New York morning time.”
                 3         105. In or around July 29, 2020, Ming Global made additional transfers in the
                 4 amounts of $475,000 and $323,000 based on Monarch’s representation that they were
                 5 required to facilitate the transfer of the outstanding sums owed to Ming Global. Monarch
                 6 represented that these additional payments, which were made on July 29, 2020, would
                 7 be refunded after fourteen days.
                 8         106. In or around August 14, 2020, Ming Global agreed to pay $643,073.31 for
                 9 an AML Certification, in exchange for Monarch’s guarantee that it would transfer the
               10 outstanding $26,683,540 in Ming Global’s investments and profits to Ming Global
               11 within three days of the validation of the AML Certification.
               12          107. Ming Global reasonably relied on the advice of what it believed to be a
               13 legitimate private equity firm providing Ming Global with advice, and transferred
               14 millions of dollars in reliance on Monarch’s representations.
               15          108. Monarch has engaged in a fraudulent scheme to extort millions of dollars
               16 from Ming Global. It is clear from Monarch’s conduct of providing Ming Global with
               17 a litany of vague and baseless justifications for not returning Ming Global’s funds, that
               18 it never intended to provide Ming Global with returns on Ming Global’s investments (if
               19 those investments were in fact made), to return the original funds Ming Global invested,
               20 or to return any additional funds it extracted under the guise of securing the return of the
               21 funds.
               22          109. Each of Monarch’s misrepresentations were made with malice, fraud, and
               23 oppression.
               24          110. As a result of Monarch’s fraud, Ming Global has been deprived of the
               25 $26,683,540 it is owed, and its original investment of $13,329,181.76. Monarch was
               26 plainly a substantial factor in causing this harm.
               27 ///
               28 ///
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                 1                            FOURTH CLAIM FOR RELIEF
                 2                                    (Civil Conspiracy)
                 3                                 (Against All Defendants)
                 4         111. Ming Global realleges and incorporates herein by reference each and every
                 5 allegation set forth in paragraphs 1 through 99, inclusive, as though set forth in full
                 6 herein.
                 7         112. In committing the wrongful acts alleged herein, including but not limited to
                 8 its fraudulent misrepresentations and the state and federal securities fraud violations it
                 9 perpetrated against Ming Global, Defendants, and each of them and their agents have
               10 pursued, or joined in the pursuit of, a common course of conduct, and have acted in
               11 concert with and conspired with one another in furtherance of their common plan or
               12 design.
               13          113. On information and belief, at all relevant times alleged herein, each of the
               14 Defendants, were aware of the fraudulent scheme detailed above and incorporated
               15 herein.
               16          114. Notably, Monarch and each of the Defendants utilized and accepted Ming
               17 Global’s transfer of funds with knowledge and in furtherance of their fraudulent scheme,
               18 and failed to return the funds to Ming Global.
               19          115. The conspiracy amongst the Defendants, as detailed above caused Ming
               20 Global to be damaged in the loss of the $26,683,540 sum it is owed, including its original
               21 investment of $13,329,181.76.
               22                                  FIFTH CLAIM FOR RELIEF
               23                                    (For Promissory Estoppel)
               24                                     (Against All Defendants)
               25          116. Ming Global realleges and incorporates herein by reference each and every
               26 allegation set forth in paragraphs 1 through 105, inclusive, as though set forth in full
               27 herein.
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                 1        117. Monarch made the following clear and unambiguous promises to Ming
                 2 Global:
                 3           a. First Promise: On or about June 3, 2020, Monarch promised that if Ming
                 4               Global invested $20,000 in the stock of two entities, Monarch would remit
                 5               the investment upon Ming Global’s request.
                 6           b. Second Promise: On or about June 16, 2020, Monarch promised that if
                 7               Ming Global made a second investment of $200,000, it would also remit
                 8               the investment upon Ming Global’s request.
                 9           c. Third Promise: On or about July 2, 2020, Monarch’s promised that if
               10                Ming Global paid an additional $10,000,000, Ming Global could liquidate
               11                its investments with Monarch.
               12            d. Fourth Promise: On or about July 29, 2020, Monarch promised that if
               13                Ming Global made additional transfers of funds in the amount of $475,000
               14                and $323,000, the outstanding sums owed to Ming Global would be
               15                transferred and the additional payments would be returned within fourteen
               16                days after they were made on July 29, 2020.
               17            e. Fifth Promise: On or about August 14, 2020, Monarch promised that if
               18                Ming Global paid $643,073.31 for an AML Certification, Monarch would
               19                transfer the outstanding $26,683,540 sum owed to Ming Global within
               20                three days of the validation of the AML Certification.
               21         118. Ming Global reasonably relied on the advice of what it believed to be a
               22 legitimate private equity firm providing Ming Global with advice, and transferred
               23 millions of dollars in reliance on Monarch’s representations. As a purported client of
               24 Monarch, Ming Global’s reliance on Monarch’s representation was reasonable and
               25 foreseeable.
               26         119. As a proximate result of Monarch’s promises and Ming Global’s reliance
               27 thereon, Ming Global has been injured in the loss of the $26,683,540 it is owed, including
               28 its original investment of $13,329,181.76.
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                 1                             SIXTH CLAIM FOR RELIEF
                 2                                (For Unjust Enrichment)
                 3                                (Against All Defendants)
                 4        120. Ming Global realleges and incorporates herein by reference each and every
                 5 allegation set forth in paragraphs 1 through 109, inclusive, as though set forth in full
                 6 herein.
                 7        121. As a proximate result of its wrongful acts and omissions, Monarch was
                 8 unjustly enriched at the expense of and to the detriment of Ming Global when it acquired
                 9 the $13,329,181.76 sum Ming Global transferred to it. It would be unjust for Monarch
               10 to retain these funds because they rightfully belong to Ming Global and were obtained
               11 and wrongfully withheld based on the false promises described herein.
               12         122. Accordingly, Ming Global seeks restitution from Monarch and an order of
               13 this Court disgorging the unjustly acquired funds.
               14                            SEVENTH CLAIM FOR RELIEF
               15                             (For Money Had And Received)
               16                                 (Against All Defendants)
               17         123. Ming Global realleges and incorporates herein by reference each and every
               18 allegation set forth in paragraphs 1 through 112, inclusive, as though set forth in full
               19 herein.
               20         124. Monarch received money that was intended to be used for the benefit of
               21 Ming Global, specifically transfers totaling $13,329,181.
               22         125. These funds have not been used for Ming Global’s benefit, but are instead
               23 being kept from Ming Global despite repeated demands for its return.
               24 ///
               25 ///
               26 ///
               27 ///
               28 ///
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                 1                            EIGHTH CLAIM FOR RELIEF
                 2             (For Federal Securities Fraud – Violation of Section 10b-5 of
                 3                       the Exchange Act of 1934, 15 U.S.C. §78j)
                 4                                (Against All Defendants)
                 5        126. Ming Global realleges and incorporates herein by reference each and every
                 6 allegation set forth in paragraphs 1 through 127, inclusive, as though set forth in full
                 7 herein.
                 8        127. Section 10b-5 bars any person from “us[ing] or employ[ing], in connection
                 9 with the purchase or sale of any security, . . . any manipulative or deceptive device or
               10 contrivance.” 15 U.S.C. § 78j(b). To state a claim under Section 10b-5, a Ming Global
               11 must plead six elements: “(1) material misrepresentation or omission by the defendant;
               12 (2) scienter; (3) a connection between the misrepresentation or omission and the
               13 purchase or sale of a security; (4) reliance upon the misrepresentation or omission; (5)
               14 economic loss; and (6) loss causation.
               15         128. Ming Global realleges and incorporates herein by reference in particular
               16 each and every allegation set forth in paragraph 86 and paragraphs 92 through 95 as
               17 misrepresentations that were made by Monarch to Ming Global. Specifically, in addition
               18 to repeatedly misrepresenting that it was the Hong Kong private equity firm, First
               19 Eastern Investments, Monarch made each of the following material misrepresentations:
               20             a. On or about June 3, 2020, Monarch represented that if Ming Global
               21                transferred $20,000 to Monarch for an investment in the stock of two
               22                entities, Monarch would remit this investment to Ming Global upon its
               23                request. On or about June 16, 2020, Monarch represented that the same
               24                agreement to remit the funds upon request would apply to Ming Global’s
               25                second investment of $200,000.
               26             b. On or about July 2, 2020, Monarch represented to Ming Global that if it
               27                transferred $10,000,000 to Monarch to purchase additional shares, its
               28                restricted shares (which could not be sold) would be converted to
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                 1              unrestricted shares (which could be sold) within two days and Ming
                 2              Global could thereafter liquidate its investments. On or about July 31,
                 3              2020, Monarch again represented to Ming Global in email that “the
                 4              available cash is now $19,736,940.00. As agreed with Mr. Hegde, our
                 5              transfer agent will initiate the transaction at their earliest convenience,
                 6              however please understand it will be New York morning time.”
                 7          c. In or around July 29, 2020, Ming Global made additional transfers in the
                 8              amounts of $475,000 and $323,000 based on Monarch’s representation
                 9              that they were required to facilitate the transfer of the outstanding sums
               10               owed to Ming Global. Monarch represented that these additional
               11               payments, which were made on July 29, 2020, would be refunded after
               12               fourteen days.
               13           d. In or around August 14, 2020, Ming Global agreed to pay $643,073.31 for
               14               an AML Certification, in exchange for Monarch’s guarantee that it would
               15               transfer the outstanding $26,683,540 in Ming Global’s investments and
               16               profits to Ming Global within three days of the validation of the AML
               17               Certification
               18         129. Monarch, through its agents, knowingly made the misrepresentations in
               19 order to deceive Ming Global. The misrepresentations Monarch knew to be false
               20 included, but are not limited to, the statements that Monarch and its agents were
               21 legitimate financial institutions and statements that Monarch was authorized to broker
               22 US securities.
               23         130. Monarch, through its agents, made the misrepresentations in connection
               24 with the purchase of a sale or security because Monarch represented itself as an
               25 investment broker authorized to broker US securities on behalf of Ming Global.
               26 Furthermore, Ming Global was deceived into believing he had purchased interests in US
               27 securities.
               28
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                 1         131. Ming Global relied upon Monarch’s misrepresentations alleged herein,
                 2 including, but not limited to, the misrepresentation that Monarch and its agents were
                 3 legitimate financial institutions, in order to transfer his funds to Monarch.
                 4         132. Ming Global transferred $13,329,181.76, and therefore suffered an
                 5 economic loss in the same amount.
                 6         133. But for the misrepresentations of Monarch, Ming Global would not have
                 7 entered into any agreement, nor would Ming Global have transferred his funds to
                 8 Monarch.
                 9         134. Thus, Monarch, by engaging in the conduct described above, directly or
               10 indirectly, in connection with the purchase or sale of a security, by the use of means or
               11 instrumentalities of interstate commerce, of the mails, or of the facilities of a national
               12 securities exchange, with scienter:
               13             a. employed devices, schemes, or artifices to defraud;
               14             b. made untrue statements of a material fact or omitted to state a material
               15                fact necessary in order to make the statements made, in the light of the
               16                circumstances under which they were made, not misleading; or
               17             c. engaged in acts, practices, or courses of business which operated or would
               18                operate as a fraud or deceit upon other persons.
               19          135. By engaging in the conduct described above, Monarch violated, Section
               20 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. §
               21 240.10b-5.
               22          136. As a result of violations, Ming Global is entitled to damages, recession of
               23 the transaction with Monarch, restitution of the consideration given by Ming Global, and
               24 an injunction ordering Monarch to cease its fraudulent operations.
               25
               26
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               28
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                 1                             NINTH CLAIM FOR RELIEF
                 2                           (California State Securities Fraud –
                 3           Violation of California Securities Law, Corp. Code § 25401 et seq.)
                 4                                 (Against All Defendants)
                 5        137.   Ming Global realleges and incorporates herein by reference each and every
                 6 allegation set forth in paragraphs 1 through 126, inclusive, as though set forth in full
                 7 herein.
                 8        138. In around May through July 2020, Monarch, through its agents, offered to
                 9 sell Ming Global securities, and induced Ming Global to transfer $13,329,181.76 to
               10 Monarch to purchase securities. That transaction was made by means of oral and written
               11 communications via email and promotional materials which contained untrue statements
               12 of a material facts or omitted to state a material fact necessary in order to make the
               13 statements made in that communication, in light of the circumstances under which they
               14 were made, not misleading. Those material misstatements and omissions are set forth
               15 above.
               16         139. Monarch and its agents materially assisted in the material misstatements
               17 and omissions set forth above. Each acted with the intent to deceive or defraud.
               18         140. As a result of the material misrepresentations and omissions, Ming Global
               19 is entitled to damages, and rescission of the transaction with Monarch.
               20                                          PRAYER
               21         WHEREFORE, Ming Global prays for relief as follows:
               22         A.     For entry of an order granting a prejudgment writ of attachment on all of
               23                Defendant Monarch Holdings Inc.’s corporate property which is subject to
               24                attachment pursuant to subdivision (a) of Code of Civil Procedure Section
               25                487.010, including, but not limited to, deposit accounts at financial
               26                institutions pursuant to Code of Civil Procedure Section 488.455, up to an
               27                amount of $13,329,181.76, pursuant to Plaintiff’s September 24, 2020
               28                application for a right to attach order and temporary protective order;
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                 1             B.    For an immediate preliminary and/or permanent injunction enjoining
                 2                   Monarch and all those acting under their direction or control from any
                 3                   further fraudulent actions;
                 4             C.    For an award of damages to Ming Global to compensate it for the harm
                 5                   caused by Monarch’s wrongful actions;
                 6             D.    For an award of punitive and exemplary damages in an amount sufficient
                 7                   to punish Monarch’s fraudulent, malicious or oppressive conduct and deter
                 8                   such conduct in the future;
                 9             E.    For an award of all costs incurred by Ming Global herein;
               10              F.    For an award of all attorneys’ fees incurred by Ming Global herein;
               11              G.    For an award of pre-and post-judgment interest on all amounts awarded;
               12                    For any and all such other and further relief as may be just and proper,
               13                    including, but not limited to, any and all relief that may be available under
               14                    or permitted by law.
               15
               16         Dated: July 16, 2021                      Respectfully submitted,
                                                                    LAW OFFICES OF MICHAEL
               17                                                   JASON LEE, APLC
                                                                    Michael Jason Lee
               18
                                                                    By: /s/ Michael Jason Lee
               19                                                           Michael Jason Lee
               20                                                    BAKER & McKENZIE LLP
               21                                                    By: /s/ Nicholas O. Kennedy
                                                                             Nicholas O. Kennedy
               22                                                            Thomas Tysowsky
               23                                                    DILLON MILLER AHUJA & BOSS,
                                                                     LLP
               24
                                                                      By: /s/ Sunina K. Ahuja
               25                                                          Sunjina K. Ahuja
               26
                                                                    Attorneys for Plaintiff
               27                                                   MING GLOBAL LIMITED
               28
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                 1
                                                     DEMAND FOR JURY TRIAL
                 2
                 3               Plaintiff Ming Global Limited hereby demands a trial by jury of all issues so
                 4
                          triable.
                 5
                 6         Dated: July 16, 2021                       Respectfully submitted,
                                                                      LAW OFFICES OF MICHAEL
                 7                                                    JASON LEE, APLC
                                                                      Michael Jason Lee
                 8
                                                                      By: /s/ Michael Jason Lee
                 9                                                            Michael Jason Lee
               10                                                     BAKER & McKENZIE LLP
               11                                                     By: /s/ Nicholas O. Kennedy
                                                                              Nicholas O. Kennedy
               12                                                             Thomas Tysowsky
               13                                                     DILLON MILLER AHUJA & BOSS,
                                                                      LLP
               14
                                                                       By: /s/ Sunina K. Ahuja
               15                                                           Sunjina K. Ahuja
               16
                                                                       Attorneys for Plaintiff
               17                                                      MING GLOBAL LIMITED
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               28
 Baker & McKenzie LLP
Two Embarcadero Center
       11th Floor
San Francisco, CA 94111
                                                                   37                   Case No.: 8:20-cv-01852-JVS-KES
   Tel: 415 576 3000                                    SECOND AMENDED COMPLAINT
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 1
                                     CERTIFICATE OF SERVICE
 2          I am employed in the County of San Diego, State of California. I am over the age of
     eighteen years and not a party to the within action; my business address is 5872 Owens Avenue,
 3   Suite 200, Carlsbad CA 92008.
 4
            On July 19, 2021, I served the following document(s) described as
 5
        • SECOND AMENDED COMPLAINT
 6

 7   on the interested parties described below:
 8          •   Sunjina K Ahuja
 9              sahuja@dmalaw.com,dchaves@dmalaw.com
            •   Brian P Ballo
10              brian@ballo.law
            •   Nicholas O'Brian Kennedy
11
                nicholas.kennedy@bakermckenzie.com,nathaniel.wilkes@bakermckenzie.com,nada.
12              hitti@bakermckenzie.com,carmen.ayala@bakermckenzie.com
            •   Thomas A. D. Tysowsky
13              thomas.tysowsky@bakermckenzie.com
14
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
15          document(s) with the Clerk of the Court by using the CM/ECF System. Participants in
            the case who are registered CM/ECF users will be served by the CM/ECF system.
16
            Participants in the case who are not registered CM/ECF users will be served by mail or by
17          other permitted means.
18          I declare under penalty of perjury under the laws of the State of California that the
19   foregoing is true and correct.

20          Executed on July 19, 2021, at Carlsbad, California.
21

22                                                ___________________
                                                  Darlene Chaves
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                                                    -1-                  Case No.: 8:20-cv-01852-JVS-KES
                                          CERTIFICATE OF SERVICE
